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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,

v. Case No. 1:20-CV-1580-RCL

JOHN R. BOLTON,

Defendant.

 

 

ORDER
Before the Court is the parties’ joint motion [70] to extend discovery deadlines. Upon
review of the motion, the Court FINDS that good cause exists to extend the deadlines. Therefore,
the motion is GRANTED.

It is FURTHER ORDERED that the existing schedule is amended as follows:

 

 

Existing Date Amended Date
e Exchange of Rule 26(a)(1) disclosures April 5, 2021 June 4, 2021
e Bolton’s production of discovery plan April 5, 2021 June 4, 2021
e Meet and confer/filing of joint report April 19, 2021 June 18, 2021
e Filing of motion for protective order May 3, 2021 July 2, 2021
e Filing of objections to discovery plan May 3, 2021 July 2, 2021
e Filing of responses to motion/objections May 17, 2021 July 16, 2021
e Filing of replies to responses May 24, 2021 July 23, 2021
e Discovery/motions hearing June 1, 2021 August 4, 2021
' 2:00 p.m. 2:00 p.m.
IT IS SO ORDERED. C
4/9 Ja fie. » Tonle
Date: f _ Royce C. Lamberth

United States District Judge
